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                            IN THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF DELAWARE

MICROCHIP TECHNOLOGY                            )
INCORPORATED,                                   )
                                                )
               Plaintiff,                       )
                                                )
        v.                                      )   C.A. No. 17-1194-JDW
                                                )
APTIV SERVICES US, LLC,                         )
                                                )
               Defendant.                       )


                   STIPULATION REGARDING MOTIONS IN LIMINE

       WHEREAS, Microchip Technology Inc. (“Microchip”) and Aptiv Services US, LLC

(“Aptiv”) have continued to meet and confer regarding the parties’ motions in limine, and the

scope of Microchip’s infringement claims;

       NOW, THEREFORE, the parties hereby stipulate and agree, subject to the approval of

the Court, that:

       1.      As to Aptiv’s Motion in Limine 1, Microchip will not reference, or introduce

               evidence regarding, Aptiv’s (or its predecessors-in-interest, including Unwired or

               Delphi) company-wide revenues/profits at trial, and Aptiv will not reference, or

               introduce evidence regarding, Microchip’s (or its predecessors-in-interest,

               including SMSC) company-wide revenues/profits at trial. Aptiv’s Motion in

               Limine 1 otherwise remains in dispute.

       2.      As to Microchip’s Motion in Limine No. 2, Aptiv’s expert Mr. John Garney will

               not present evidence regarding testing of any device other than the two devices

               previously disclosed and addressed in his expert report and during his deposition.



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              Further, Mr. Garney will not testify about the Court’s claim construction

              memorandum opinion or reasoning set forth therein (D.I. 113). The parties’

              agreement does not preclude Mr. Garney from applying the Court’s claim

              construction set forth in D.I. 114. Based upon the parties’ agreements as set forth

              in this paragraph, Microchip’s Motion in Limine No. 2 is withdrawn.



/s/ Andrew E. Russell                              /s/ Philip A. Rovner
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SO ORDERED this ____ day of April, 2022.


                                            _________________________________
                                                 United States District Judge




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